Case 1:20-cv-08042-PKC Document 29-4 Filed 05/18/20 Page 1 of 31




       EXHIBIT 4
       Case 1:20-cv-08042-PKC Document 29-4 Filed 05/18/20 Page 2 of 31




                                                                             Page 1



 2                                                                                x


        RE:         In    re:        McCRAY,       RICHARDSON,
 4      SANTANA,         WISE
                    and       SALAAM       Litigation,


        Docket      No.       03    CV    9685    (DAB) (RLE)


                                                                                  x
 7
                                                   99    Park       Avenue
 8                                                 New    York,       New    York
 9                                                 April       23,    2013
                                                   10:06       a.m.
10
11             EXAMINATION               BEFORE    TRIAL       of    LINDA
12      FAIRSTEIN,            a    Defendant       in    the
13      above -entitled              action,       held       at    the   above
14      time    and      place,          taken    before       Alice
15      Schulman,         a       Notary    Public       of    the    State    of
16      New    York,      pursuant          to    Notice       and
17      stipulations               between       Counsel.
18
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       Case 1:20-cv-08042-PKC Document 29-4 Filed 05/18/20 Page 3 of 31




                                                                   Page 2

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       Case 1:20-cv-08042-PKC Document 29-4 Filed 05/18/20 Page 4 of 31



                                      Linda Fairstein

                                                                  Page 57

 1            A.       In the preparation with                     11:04:41

 2      detectives for the trial of the case.               So     11:04:43

 3      she did not have to come to me to get                      11:04:45

 4      permission to assign detectives for daily                  11:04:48

 5      work with her.                                             11:04:52

 6            Q.       Were you involved in assisting              11:04:53

 7      Ms. Lederer and/or Mr. Clements in any way                 11:04:56

 8      in the preparation for the trials and the                  11:05:02

 9      prosecutions themselves?                                   11:05:06

10            A.       In some respects, yes.                      11:05:10

11            Q.       In what respects?                           11:05:14

12            A.       If Ms. Lederer wanted to discuss            11:05:16

13      an issue with me or a matter with me, she                  11:05:21

14      would call me and we met.                                  11:05:24

15                     I don't believe I ever met with             11:05:27

16      Mr. Clements in the preparation of the                     11:05:29

17      case for trial.        That's a strong statement           11:05:31

18      ever.       I don't recall meeting with Mr.                11:05:33

19      Clements during the preparation for either                 11:05:37

20      trial.                                                     11:05:41

21            Q.       Can you tell us who the lawyers             11:05:41

22      were who were involved in the team that                    11:05:45

23      prosecuted the defendants outside of                       11:05:49

24      Lederer and Clements?                                      11:05:52

25           A.        Okay.   Yes.     The layers of              11:05:53

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       Case 1:20-cv-08042-PKC Document 29-4 Filed 05/18/20 Page 5 of 31



                                    Linda Fairstein

                                                                   Page 58

        supervision included Ms. Lederer's three                   11:06:03

 2      Trial Bureau 40 supervisors.                               11:06:07

 3           Q.     Who?                                           11:06:09

 4            A.     John Hogan was the bureau chief               11:06:10

 5      in Trial Bureau 40.        And also a former               11:06:13

 6      member of the Sex Crimes Prosecution Unit.                 11:06:18

 7      Dan McNulty was, I believe, charged with                   11:06:22

 8      much of the supervision direct on a daily                  11:06:28

 9      basis for Ms. Lederer and Mr. McNulty.                He   11:06:32

10      was their Deputy Bureau Chief in Trial                     11:06:36

11      Bureau 40.     I believe the Second Deputy                 11:06:41

12      was Mr. Cronin, Steve Cronin.                              11:06:43

13           Q.      Can you spell that?                           11:06:45

14            A.     C-R-O-N-I-N.                                  11:06:45

15           Q.      Go on.                                        11:06:48

16            A.    And then I was, in the sense of                11:06:49

17      the sex crimes work, a supervisor.              The        11:06:59

18      chief of the Trial Division to whom I                      11:07:02

19      reported was also in the supervisory role                  11:07:04

20      in this case.                                              11:07:09

21           Q.     Who was that?                                  11:07:10

22            A.    It was at first John Fried when                11:07:11

23      the case was assigned in April 1989.               He      11:07:16

24      left the office, a date you can ascertain                  11:07:22

25      but probably 1990, replaced by Nancy Ryan                  11:07:28


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                                     Linda Fairstein

                                                                  Page 59

 1      who was then a supervisor.                                 11:07:32

 2                   And then up the chain of                      11:07:37

 3      command, the Chief Assistant District                      11:07:39

 4      Attorney and Mr. Morgenthau himself.                       11:07:41

 5            Q.     Did you ever talk to Mr.                      11:07:44

 6      Morgenthau during the period this case was                 11:07:47

 7      pending before the convictions about                       11:07:49

 8      anything having to do with the charges,                    11:07:51

 9      the indictments and the prosecution?                       11:07:56

10                  MS. DAITZ:       Objection to form.            11:07:58

11            A.    Did I ever speak?                              11:08:00

12            Q.    In that period of time.                        11:08:03

13            A.    In the period of time from April               11:08:05

14      20, 1989                                                   11:08:07

15            Q.    Right.                                         11:08:09

16            A.    -- to the convictions?                         11:08:09

17            Q.    Right.                                         11:08:11

18            A.     Frequently.                                   11:08:12

19            Q.    Did you talk about issues in the               11:08:13

20      case with him?                                             11:08:15

21            A.    Yes, I    did.                                 11:08:16

22            Q.    How often?                                     11:08:17

23            A.    Well, in what period of time?                  11:08:18

24            Q.    In that period of time.                        11:08:22

25            A.    It varied from the morning of                  11:08:24


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       Case 1:20-cv-08042-PKC Document 29-4 Filed 05/18/20 Page 7 of 31



                                     Linda Fairstein

                                                                     Page 60

 1       April 20th for a month or six weeks, he                     11:08:28

 2       called me into him several times a day                      11 :08:34

 3       every day.     There were periods where we                  11 :08:37

 4       didn't speak as frequently.                                 1 1 :08:43

 5                    He asked me, I was the person                  11 :08:47

 .6      who he called in this particular case.                 He   11 :08:50

 7       expected me to give him information from                    11 :08:55

 8       Ms. Lederer and her team that were updates                  11 :08:58

 9       of any kind.     So   r   saw him during that               11:09:01

10       period.     And more frequently during the                  11:09:05

11       hearings of the case and the trial.                         11:09:09

12            Q       If I can remember correctly, in                11:09:13

13       your answer, maybe an answer or so ago,                     11:09:23

14       you said something about your assisting in                  11:09:26

15       the sex crime aspects of the prosecution.                   11 :09:28

16       What did you mean by that?                                  11 :09:32

17            A      As you are well aware, there                    11:09:33

18       were many charges in this case.               And in        11:09:38

19       addition to the five plaintiffs in this                     11 :09:43

20       case, there were many offenders charged                     11:09:44

21       with acts not related to a sexual assault                   11:09:50

22       but to physical assaults and to riot, and                   11:09:55

23       many of them ultimately to be charged in                    11:09:58

24       Juvenile Court.                                             11:10:01

25                   And for all of those issues, Ms.                11:10;04


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                                      Linda Fairsccin

                                                                  Page 221

 1       at two precincts.                                          15:45:53

 2             Q.       Others were concerned about what            15:45:56

         else?                                                      15:45:59

               A.       Other officers I' didn't know'who           15:45:59

         were in a similar position, who were not                   15:46:06

         being interviewed and expressed to my                      15:46:09

 7       former colleagues that they had                            15:46:14

 8       information they wanted to give to her,                    15:46:17

 9       her being Ms. Ryan.                                        15:46:20

1:0                    Do you know what officers                    15:46:22

11       communicated with your former colleagues                   15:46:24

12       to express that opinion or those opinions?                 15:46:26

13             A.       As I sit here today, I          don't       15:46:29

14       know.       I knew in 19 -- I'm sorry, I knew              15:46:31

15       some of the names in 2002.                                 15:46:36

16             Q.      Did you take notes when you were             15:46:38

17       having these conversations with people in                  15:46;40

18       the District Attorney's office who were                    15:46:42

19       expressing their concern?                                  15:46:43

20             A.      Not that I can think of.                     15:46:46

21             Q.      I guess we can go to April 20th              15:46:49

22       now for awhile.       Fiston called you what               15:47:15

23       time in the morning?                                       15:47:22

24            A.       As I recall, between 8:30 and                15:47:24

25       nine o'clock in the morning.                               15:47:27


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                                    Linda Fairstein

                                                                 Page 224

        to give me information.          It was a call in          15:50:04

        which he was asking for the help that we                   15:50:07

 3      provide in the instant moment.                             15:50:12

 4            Q.    Fiston was calling you, right,                 15:50:14

 5      right?                                                     15:50:17

 6            A.    Fiston did call me.                            15:50:17

 7            Q.    Right?                                         15:50:19

 8            A.     Yes, sir.                                     15:50:21

 9            Q.    And the reason Fiston called you               15:50:21

10      about a rape was the arrangement you and                   15:50:24

11      Morgenthau had made with Fiston that you                   15:50:27

12      should be called about every rape; is that                 15:50:29

13      correct?                                                   15:50:32

14                  MS. DAITZ:       Objection.                    15:50:32

15            A.    No, sir.                                       15:50:32

16            Q.    Why is that not correct?                       15:50:33

17                  MS. DAITZ:       Let her answer the            15:50:35

18      question this time.                                        15:50:37

19            Q.    Why is that not correct?                       15:50:37

20            A.    Because the practice that                      15:50:39

21      Morgenthau and I had requested to have                     15:50:41

22      with Mr. Fiston and other officers was for                 15:50:45

23      the information of a case.                                 15:50:49

24                  So if a rape had happened on                   15:50:50

25      4/15 on East 30th Street and it wasn't                     15:50:51

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       Case 1:20-cv-08042-PKC Document 29-4 Filed 05/18/20 Page 10 of 31



                                     Linda Fairstein

                                                                  Page 225

 1      solved, we'd know and have it under our                    15:50:55

 2      roof as well.                                              15:51:00

 3                   On this morning when he called                15:51:01

4       me, he was calling to ask me to assign a                   15:51:03

 5      prosecutor now for the purpose, as we ride                 15:51:06

6       homicides and sex crimes as the expression                 15:51:13

 7      is called, to have a prosecutor to be                      15:51:15

8       available to him within hours to help with                 15:51:19

 9      the prosecutorial steps that would be                      15:51:21

10      taken at the station house.                                15:51:24

11            Q.     So it's your answer that the                  15:51:26

12      call that Fiston made to you had no                        15:51:29

13      connection with the arrangements that you                  15:51:32

14      and Morgenthau had made with Fiston to                     15:51:33

15      call and advise you about a rape, whether                  15:51:37

16      or not a person had been arrested?                         15:51:39

17                   MS. DAITZ:      Objection.        You can     15:51:41

18      answer.                                                    15:51:43

19            A.     Those are not my words, sir.             I    15:51:43

20      didn't say they had no connection.              I said     15:51:46

21      this was for a much more urgent purpose.                   15:51:48

22      It might also have served that use, hello,                 15:51:51

23      this is the event that happened this                       15:51:55

24      morning.                                                   15:51:57

25                   On top of that, there was a much              15:51:58

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      Case 1:20-cv-08042-PKC Document 29-4 Filed 05/18/20 Page 11 of 31



                                    Linda Fairstein

                                                                 Page 228

 1            A.       I don't believe so.            It was a    15:54:13

 2      phone conversation, a telephone                           15:54:16

 3      conversation.                                             15:54:17

 4            Q.       So let's go back to your call              15:54:17

 5      to, pardon me, your call with Fiston.                     15:54:19

 6      What did you do after that?                               15:54:31

 7            A.       I picked up the office roster              15:54:33

 8      that I kept on my desk.          It's a monthly           15:54:39

 9      form distributed to every lawyer to look                  15:54:43

10      at my unit's names to see who was                         15:54:50

11      available for me to assign the case to.                   15:54:53

12            Q.       And what happened next?                    15:54:57

13           A.        I chose the name Elizabeth                 15:55:03

14      Lederer.                                                  15:55:03

15           Q.       Because?                                    15:55:05

16           A.       Because she was a skilled                   15:55:05

17      experienced litigator.         She did excellent          15:55:09

18      work.       She was one of the top four names             15:55:14

19      that I considered at the time that I                      15:55:21

20      looked at the list and I settled on her.                  15:55:25

21            Q.      And you called?                             15:55:30

22           A.       And I called her.                           15:55:31

23           Q.       Right after that?                           15:55:32

24           A.       Immediately after that.                     15:55:34

25           Q.       Told her?                                   15:55:35


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       Case 1:20-cv-08042-PKC Document 29-4 Filed 05/18/20 Page 12 of 31



                                     Linda Fairstein

                                                                 Page 269

        were returned to the precinct.                             16:58:19

              Q.     On the 20th, were you in the                  16:58:21

 3      presence of any of the suspects and the                    16:58:24

 4      police at the same time?                                   16:58:30

 5                   MS. DAITZ:      Just to clarify, are          16:58:33

 6      you saying on April 20th or at the 20th                    16:58:34

 7      Precinct?                                                  16:58:37

                     MR. BELDOCK:       On April 20th at           16:58:39

 9      the 20th Precinct.                                         16:58:40

10           A.      To make it clear, I was never in              16:58:41

11      the presence of any suspect without police                 16:58:44

12      being present, but I don't believe I was                   16:58:47

13      with police and suspects at the 20th                       16:58:52

14      Precinct.                                                  16:58:57

15                   I could be wrong, if they were                16:58:58

16      at any time brought into the large squad                   16:59:00

17      room, but I was never in an interview room                 16:59:02

18      at the 20th Precinct.                                      16:59:05

19           Q.      Did you know who was in the                   16:59:06

20      precinct on the 20th?                                      16:59:08

21                   MS. DAITZ:      Objection to form.            16:59:09

22           Q.      You know, I'm talking about                   16:59:15

23      suspects.                                                  16:59:16

24           A.      I did not have, and I did not                 16:59:18

25      have a complete picture of who was in in                   16:59:23


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       Case 1:20-cv-08042-PKC Document 29-4 Filed 05/18/20 Page 13 of 31



                                     Linda Fairstein

                                                                 Page 270

        the period between 8:30 p.m. and 11:30.                    16:59:26

              Q.     You knew at some point that                   16:59:29

 3      Yusef Salaam was there?                                    16:59:31

 4            A.     I had learned that.                           16:59:33

 5            Q.     And did you learn that Kharey                 16:59:34

 6      Wise was there?                                            16:59:36

 7            A.     When did I learn that?            I           16:59:36

 8      learned that.                                              16:59:40

 9            Q.     While at the 20th, did you learn              16:59:41

10      that Kharey Wise was there?                                16:59:43

11            A.     No, actually.                                 16:59:44

12            Q.     When did you learn that?                      16:59:46

13            A.     I   learned that shortly after                16:59:48

14      reaching the 24th Precinct.                                16:59:54

15            Q.     From whom did you learn that?                 16:59:55

16            A.     I believe I learned that from                 16:59:59

17      Detective Taglioni.                                        17:00:02

18            Q.     And from whom did you first                   17:00:04

19      learn that Yusef Salaam was at the                         17:00:08

20      precinct?                                                  17:00:10

21            A.     I first learned that around                   17:00:11

22      11:30 p.m. on the night of the 20th when                   17:00:15

23      an officer came up to tell me that someone                 17:00:23

24      was there on behalf of the Salaam family.                  17:00:30

25            Q.     Where were you?                               17:00:34


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       Case 1:20-cv-08042-PKC Document 29-4 Filed 05/18/20 Page 14 of 31



                                     Linda Faizstein

                                                                 Page 271

              A.     On the second floor in the squad              17:00:35

        room.                                                      17:00:38

 3            Q.     What had you been doing?                      17:00:38

 4            A.     I'd been making phone calls.                  17:00:39

 5            Q.     What did you do directly before               17:00:42

 6      you learned that?                                          17:00:47

 7            A.     I had been on the phone.           I          17:00:47

 8      can't tell you who I was on the phone                      17:00:50

        with.                                                      17:00:53

10            Q.     What officer came up to you?                  17:00:53

11           A.      As best I can recall it was a                 17:00:55

12      sergeant named Klev, K-L-E-V.                              17:00:58

13           Q.      Had you been                                  17:01:01

14                   MR. BELDOCK:        Withdrawn.                17:01:06

15           Q.      From the time of the first                    17:01:07

16      interview --                                               17:01:08

17                   MR. BELDOCK:        Withdrawn.     I'm        17:01:11

18      sorry.                                                     17:01:12

19           Q.      From the time of the first                    17:01:12

20      meeting you and Lederer had with Sergeant,                 17:01:14

21      sorry, with Captain Rowe, had you had                      17:01:19

22      anymore interaction, anymore discussions                   17:01:24

23      with Captain Rowe?                                         17:01:27

24           A.      Yes.                                          17:01:28

25           Q.      What did they consist of?                     17:01:28


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      Case 1:20-cv-08042-PKC Document 29-4 Filed 05/18/20 Page 15 of 31



                                    Linda Fairstein

                                                               Page 273

                     Did you ever see those pictures?            17:02:28

 2             A     Yes.                                        17:02:30

 3             Q.    When?                                       17:02:31

 4             A.      believe, I know it was at the             17:02:31

 5        24th Precinct after seven in the morning.              11:02:36

 6    1        Q     Someone came up to you when you             17:02:42

 7        were on the second floor and told you that             1/:02:44

 8        there was someone inquiring about Mr.                  17:02:48

 9        Salaam?                                                1.'7:02:51

10                   MS. DAITZ:     Objection to form.           11:02:51

11                   What exactly were you told?                 17:02:53

12             A.    I was told that a man was there,            1/:02:54

13        a lawyer on behalf of the Salaam family.               11:02:58

14             Q     Anything else?                              17:03:06

15             A     I think, I think, and I've given            11:03:0S

16        sworn testimony about this. years ago,                 13:03:15

17        think that was the first conversation that             1/:03:18

18        was reported to me by the officer.                     11:03:20

19            Q.     Anyone else present?                        17:03:23

20             A     I don't think so.                           11:03:24

21            Q      Did you speak to Lederer about              1/:03:2S

22        that information?                                      17:03:31

2.3            A.    No, I didn't know where she was.            11;03:32

24        at the moment.                                         17:03:34

2:5           Q      Do you know what she was doing              13:03:35


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     Case 1:20-cv-08042-PKC Document 29-4 Filed 05/18/20 Page 16 of 31



                                           Linda Firstein

                                                                 Page 283

 1      Salaam.                                                   1 7 :17:41

 2            Q       You can exclude me from                     1 7:17:45

 3      everybody in this room.                                   1 7 :17:45

 4            A       Okay.                                       1 7 :17:45

 5                    MR. WARREN:           Exclude me too.       17 :17:48

 6                    THE WITNESS:            Okay, fine.         1 7 :17:48

              Q.      You see he gave testimony that's            17:17:48

 8      different from your testimony, right?                     17 :17:51

 9            A.      Correct.                                    17 :17:53

10            Q.      Did you know Lieutenant Doyle               17:17:54

11      was at the precinct, at the 20th Precinct                 17:18:00

12      on the 20th of April?                                     17:18:03

13            A.      As I said earlier, I know                   17:18:04

14      Lieutenant Doyle and Sergeant O'Connor                    1.7 :18:08

15      were among the supervisors who were there                 17:18:10

16      for, at one precinct or the other for the                 17:18:16

17      32 hours or so that Ms. Lederer and I were                17 : 18:20

18      there.      I can't place him at a specific               17:18:23

19      moment like this now today.                               17:18:25

20           Q,.      So you can't say whether you                17:18:27

21      remember them being at the 20th Precinct?                 17:18:30

22            A      I can't today.              They may well    17:18:32

23      have been.                                                17:18:36

24           Q.      Did you know what division or                17:18:36

25     'bureau of the police department Doyle was                 17:18:54

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Case 1:20-cv-08042-PKC Document 29-4 Filed 05/18/20 Page 17 of 31
      Case 1:20-cv-08042-PKC Document 29-4 Filed 05/18/20 Page 18 of 31




                                                                                 Page 303

 1
 2                                                                                       x
 3
        RE:          In    re:        McCRAY,            RICHARDSON,
 4      SANTANA,          WISE
                     and       SALAAM         Litigation,
 5
        Docket       No.       03    CV    9685        (DAB) (RLE)


                                                                                         x


                                                         99    Park       Avenue
 8                                                       New    York,       New    York
 9                                                       April       24,    2013
                                                         9:37       a.m.
10
11             CONTINUED            EXAMINATION                BEFORE       TRIAL    of
12      LINDA       FAIRSTEIN,            a       Defendant          in    the
13      above -entitled               action,            held       at    the    above
14      time    and       place,          taken         before       Alice
15      Schulman,          a    Notary            Public       of    the    State    of
16      New    York,       pursuant               to    Subpoena          and
17      stipulations                between            Counsel.
18
19                                            *           *
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21
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          Case 1:20-cv-08042-PKC Document 29-4 Filed 05/18/20 Page 19 of 31




                                                                    Page 304

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       Case 1:20-cv-08042-PKC Document 29-4 Filed 05/18/20 Page 20 of 31


                                     Linda Fairstein

                                                                 Page 330

              A.     24th Precinct.                                10:05:52

              Q.     This is on the 21st, right?                   10:05:54

 3            A.     Yes.                                          10:05:56

 4           Q.      Who was present with Kharey at                10:05:57

 5      that time?                                                 10:06:01

 6            A.     The detectives working with him.              10:06:01

 7      I believe, well, Detective Sheehan was in                  10:06:08

 8      the immediate area around me, and Jonza                    10:06:11

        was, I don't know if Jonza was next to me                  10:06:16

10      but nearby.                                                10:06:23

11                   (Mr. Wareham entered the room.)               10:06:24

12           Q.      This is in the station house?                 10:06:28

13           A.      Yes.                                          10:06:32

14           Q.      This is not in the park?                      10:06:33

15           A.      Correct.                                      10:06:34

16           Q.      You went with Kharey to the                   10:06:35

17      park?                                                      10:06:37

18           A.      Yes.                                          10:06:37

19           Q.      Is this before you went to the                10:06:37

20      park?                                                      10:06:39

21           A.      Yes.                                          10:06:39

22           Q.      Where was this, where in the                  10:06:39

23      station house did this take place?                         10:06:44

24           A.      In the squad room on the second               10:06:46

25      floor, I believe.                                          10:06:49

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      Case 1:20-cv-08042-PKC Document 29-4 Filed 05/18/20 Page 21 of 31


                                      Linda Fairstein

                                                                  Page 332

                        I   don't believe I did see him            10:08:06

 2       there.,      I later learned he was there.                10::08:.01

 3             Q.       Go on reading the notes.          Pick     10:08:.10

 4       up with not cuffed-.        MIist              mean by    10:08:21

 5       that?                                                     10:08:23

 6             A.      That he was never handOuffed for            10     8:24

 7       this trip to the park, in the precinct or                 10;08:27

         in the park until after he was arrested                   10:08±.29

         many hours later.                                         10::0:8::3.2

               Q.       Why don't you read those three             10:08:33
         lines.                                                    10:08:36

               A.       Okay.    Not cuffed.        In roadway     10 :08:37

         with Jonza and Sheehan and Kevin                          10:06:41

         Richardson.                                               10:08:44

15             Q.       Are those notes related to                 10:08:46

16       events in the station house?                              10:08:50

17             A.       No, in the park now.                       10 :0E1:54

18             Q.       Read the rest of the notes,                10 :08:59

19-      please.                                                   10:09:04

20             A.       Pointed out where he was on ball           10

21       field and where, using his word in quotes,                10

22       snatched her.                                             10

23             Q.       Go on.                                     10:09:16

24             A.       Drove below, underlined, after             10 09;16

25       KR, arrow back to car.                                    10 - 09:25


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     Case 1:20-cv-08042-PKC Document 29-4 Filed 05/18/20 Page 22 of 31


                                     Linda Fairstein

                                                             Page 333

                      What does that mean?                     10 :09:28

 2            A.      That the drove below refers to           10 :09:34

 3      the fact that the officers driving me in               10 :09:35

 4      the car drove from the roadway down to the             10 :09:38

 5      ravine.       That's what drove below means.           10 :09:43

 6                    After KR went back to the car            10 :09:48

 7      means that Kevin was the first of the two              10 :09:51

        young men     the officers asked to get out of         10 :09:55

 9      the car.                                               10 :09:58

10            Q.      Kharey was asked to get out              10:10:00

11      afterwards, is that what it means?                     10:10:02

12            A.      Yes.                                     10:10:04

13            Q.      What time of day did you go to           10:10:05
14      the   park?                                            10:10:09

15            A.      We left the precinct shortly             10:10:09

16      after 7:00 a.m. and were back by 8:00 a.m.             10:10:12

17            Q.      You were driven there by a               10 :10:17

18      police officer?                                        10 :10:21

la            A.      Yes.                                     10 :10:21

20            Q.      Which one?                               10:10:21

21            A.      It's my recollecti,an, as I sit          10:10:22

22      here,' that Detective Sheehan drove the car            10:10:27

23      and Detective Jonza was also in the car.               10:10:31

24            Q.      Were you all in the same car             10:10:33

25      with Kharey arid Kevin?                                10:10:35

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      Case 1:20-cv-08042-PKC Document 29-4 Filed 05/18/20 Page 23 of 31


                                    Linda Fairstein

                                                                Page 334

 1             A.    That's my recollection.          I could    10 :10:37

 2       be mistaken.                                            1 0 :10:38

 3                   Read on.                                    1 0 :10:39

 4             A.    Mike Sheehan and August Jonza.              1 0 :10:40

 5       Mike Sheehan, I'm sorry, to Mike Sheehan,               1 0 :10:47

 6       T-0, to August Jonza, quote, send Kharey                10 :10:51

         up - walked over alone, meaning Kharey                  10 :10:55

         walked alone.                                           10 :11:01

                     (Mr    Warren entered the room.)            10.11.01

 0                   Over to?                                    10:11:04

               A.    To the area where Sheehan and T             10:11:05

12       were.                                                   10 :11:08

               Q..   The next paragraph starting with            10:11:08

14       looked down, Z can read, is this your                   10 11:14

         recording of what you --                                10 :11:20

25                   MR. BELDOCK:      Withdrawn.                10 :11:22

 7             Q     Is this your recording of what              10 :11:22

         you understood Kharey to have said?                     10 :11:25

               A.    Yes.                                        10 :11:27

2:0            Q•    Where was he when you made these            10:11:29

         comments?                                               10 :11:32

                     The car had parked in the ravine            10:11:33

         and we were standing, 2 would say,                      10:11:37

         approximately a third of the way up from                10:11:43

         the   a tream in the ravine to the roadway.             10:11:48

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     Case 1:20-cv-08042-PKC Document 29-4 Filed 05/18/20 Page 24 of 31


                                   Lindit.Fairstein

                                                                 Page 336..

              A.    Yes                                            10

 2            Q.    Were there any other persons                  10 :1,3110

 3      present with your group, Sheehan                Jonza,    ID

 4      Kevin and Kharey in the visit to the park?                10:13125

                    There may have been another car                10: 13.: 30

 6      with police officers in it.                   don't        10:13:34

 7      believe there were any other. civilians,                             37

 8      but 1 don't remember talking to anyone in                  10t:1341

 9      another car       There werei there was a                 10:13:44

10      uniformed police officer, at least one if                 10:13:48

        not two, on the roadway in the park when                  10:13:50

        we arrived.                                                10:13:54

              Q•    Am I correct that this visit to                10

14      the park took place after the video                       10

15 1    statements of Kharey and Kevin?                           •10:14:02
16           A.     I believe the visit t❑ the park                10:14:04

17      took place after the video statement of                   10:1406

18      Kevin Richardson and, as1           sit here today,       10 :14:09

19      my recollection is that Kharey Wise had                   •10!.14-:14
20      made two written statements at that point,                10 :14:17

21      or a written statement but had not yet                    10 14t24

22      been videotaped.                                          10 14:27

23                  Kevin was being questioned and                10 :141.3.1

24      was giving information while at the visit                 10;14:33

25      to the park and in r the oar                              10:14:36

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     Case 1:20-cv-08042-PKC Document 29-4 Filed 05/18/20 Page 25 of 31



                                   Linda Fairstein

                                                              Page 485

               Q.   When you were speaking to                   14:43:45

 2      Nocenti and speaking to Sharon on the                   14:43:48

 3      20th, Sharonne on the 20th, and to whoever              14:43:51

 4      else you were talking to, did you                       14:43:53

 5      understand that Yusef was being questioned              14:43:55

 6      by detectives?                                          14:43:58

 1             A.   When I   spoke to Mr. Nocenti,              14:44:00

 8      yes.                                                    14:44:03

              Q.    And when you spoke to Sharonne?             14:44:03

10             A.   For the first two minutes until             14:44:05

11      she told me her son's age, yes.                         14:44:08

12            Q.    Are you saying that you stopped             14:44:11

13      the questioning after the first two                     14:44:12

14      minutes?                                                14:44:14

15                  MS. DAITZ:     Objection.                   14:44:14

16           A.     I'm saying that I am the person,            14:44:15

17      yes, who the moment Mrs. Salaam told me                 14:44:17

18      her son's age recommended to the police                 14:44:22

19      that they stop the questioning.                         14:44:24

20            Q.    And you did that promptly?                  14:44:27

21            A.    I did that promptly.                        14:44:29

22            Q.    When, to your knowledge, was                14:44:32

23      Yusef brought down to see his mother?                   14:44:36

24            A.    I don't know.       I didn't have           14:44:39

25      control over that.                                      14:44:43


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                                    Linda Fairstein

                                                              Page 486

               Q.    It didn't happen while you were            14:44:43

 2       in the precinct, did it?                               14:44:45

 3             A.    I left the precinct immediately            14:44:46

 4       after.                                                 14:44:48

 5             Q.    You left around 12, 12:30?                 14:44:49

 6             A.    Around 12:30, and this exchange            14:44:52

         with Mrs. Salaam was about 12:15.                      14:44:55

 8             Q.    Do you remember Judge Titone's             14:44:59

 9       dissent, Judge T-I-T-O-N-E's, dissent in               14:45:06

10       the Court of Appeals about Yusef?                      14:45:09

11             A.    Yes, I do, very well.                      14:45:12

12                   MS. DAITZ:     At the time that it         14:45:13

13       was written, keep in mind.                             14:45:13

14            A.     Yes, I do.                                 14:45:16

15            Q.     Didn't Judge Titone write in his           14:45:17

16       dissent, pardon me, didn't Judge Titone                14:45:21

17       write in his dissent that he disapproved               14:45:26

18       of the technique that he found you used                14:45:29

19       with Yusef Salaam by keeping him isolated              14:45:33

20       from family members while he was being                 14:45:38

21       questioned?                                            14:45:40

22                   MS. DAITZ:     Objection.                  14:45:40

23            A.     I remember he wrote a very                 14:45:41

24       strong dissent.                                        14:45:43

2:5           Q.     To that effect, right?                     14:45:45


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       Case 1:20-cv-08042-PKC Document 29-4 Filed 05/18/20 Page 27 of 31



                                     Linda Fairstein

                                                                  Page 539

        possibly Ms. Lederer.                                      16:00:10

              Q.     Did you learn that information                16:00:11

 3      also or independently from any of the                      16:00:13

 4      former or still current at that time                       16:00:17

 5      members of the Manhattan North Homicide                    16:00:23

 6      Group?                                                     16:00:26

 7                   MS. DAITZ:      Objection.                    16:00:27

8             Q.     Like Sheehan or McCabe, for                   16:00:29

 9      example.                                                   16:00:32

10                   MS. DAITZ:      Objection.                    16:00:32

11            A.     I, I don't believe I ever had a               16:00:33

12      conversation with McCabe.             I don't believe      16:00:41

13      I had any conversations with McCabe, not                   16:00:47

14      ever in regard to the reinvestigation of                   16:00:52

15      this case.      Sheehan possibly, Lederer                  16:00:55

16      possibly, Friel possibly.                                  16:01:06

17           Q.      You say that you told Kindler                 16:01:08

18      that you were a fact witness.                  Right or    16:01:12

19      wrong, you were a fact witness to events                   16:01:17

20      concerning Yusef Salaam, Sharonne Salaam,                  16:01:21

21      David Nocenti, all surrounding what                        16:01:24

22      happened in the precinct when you                          16:01:27

23      interacted with those people?                              16:01:31

24            A.     Not limited to the names you've               16:01:34

25      just said, but all related to the 32 or                    16:01:37


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     Case 1:20-cv-08042-PKC Document 29-4 Filed 05/18/20 Page 28 of 31



                                   Linda Fairstein

                                                             Page 540

       six hours in the precinct.                              16:01:43

 2          Q.      You were a fact witness to                 16:01:44

 3     things that happened in the park when you               16:01:46

 4     went to the park, right?                                16:01:48

 5          A.      Yes.                                       16:01:53

            Q.      Were you a fact witness to any             16:01:53

 7     other aspect of the interviews of the                   16:01:55

8      defendants?                                             16:01:58

 9          A.      Not to the interviews but to               16:01:58

10     observations about how they were fed, how               16:02:00

11     they were cared for, what they said and                 16:02:04

12     did to some extent 10:30 at night anyway                16:02:08

13     in the holding pen.                                     16:02:12

14                  Information that Kharey Wise               16:02:14

15     shouted out about a victim who had not                  16:02:16

16     even yet come forward to the police that                16:02:19

17     confirmed that fact when that man came                  16:02:22

19     forward.                                                16:02:27

19                  So I thought that a good                   16:02:27

20     investigator wouldn't overlook any piece                16:02:31

21     of investigation, of information.                       16:02:34

22          Q.      Did you read Judge Tejada's                16:02:38

23     decision?                                               16:02:44

24          A.      When it was issued, yes.         I         16:02:44

25     don't believe I have since.                             16:02:47

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      Case 1:20-cv-08042-PKC Document 29-4 Filed 05/18/20 Page 29 of 31



                                     Linda Fairstein

                                                                Page 543

 1      Morgenthau directed me to.                                16:06:11

 2            Q.     After the investigation, the                 16:06:12

 3      reinvestigation started in 2002, did you                  16:06:16

 4      give a number of interviews to various                    16:06:20

 5      members of the press?                                     16:06:23

 6            A.     Yes.                                         16:06:24

 7            Q.    Did you keep a list of them?                  16:06:24

 8            A.     No.                                          16:06:28

 9            Q.    Did you keep copies of them?                  16:06:29

10            A.     No.                                          16:06:30

11            Q.     For instance, Jeffrey Toobin                 16:06:31

12      wrote it, I think his name is Toobin or                   16:06:35

13      Tobin, wrote an article in the New York                   16:06:39

14      Magazine                                                  16:06:41

15            A.     New Yorker                                   16:06:41

16            Q.    -- about the case and about your              16:06:43

17      statements.     Did you keep a copy of that               16:06:45

18      article?                                                  16:06:48

19            A.     No, it's all Googleable online.              16:06:48

20           Q.     Did you read that article?                    16:06:52

21            A.     Yes, I did.                                  16:06:55

22           Q.     Did you read other articles in                16:06:56

23      which you were quoted?                                    16:06:59

24                  MS. DAITZ:       When they were               16:07:00

25      published.                                                16:07:01

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      Case 1:20-cv-08042-PKC Document 29-4 Filed 05/18/20 Page 30 of 31



                                    Linda Fairstein

                                                                   Page 548

 1            A.    Which results are you talking                   16:12:24

 2      about, and what was the communication                       16:12:27

 3      because sometimes your characterizations,                   16:12:29

 4      most respectfully, have not been the same                   16:12:31

 5      as I would characterize it.                                 16:12:34

 6            Q.    I'm showing you Exhibit 28.              You    16:12:39

 7      can hold this other one at the same time                    16:12:53

 8                  MS. DAITZ:      I need a copy.                  16:12:55

 9                  MR. BELDOCK:       You had this                 16:13:00

10      earlier.                                                    16:13:01

11                  MS. DIPPOLD:       We passed it out             16:13:03

12      earlier and then retrieved it.                              16:13:05

13                  MR. BELDOCK:       Here, here.      I           16:13:08

14      better take one for myself.                                 16:13:11

15                  MS. DAITZ:      Thank you.                      16:13:14

16                  MR. BELDOCK:       Excuse me.      For          16:14:10

17      the record, this is an article from the                     16:16:16

18      New York Times archives entitled Genetic                    16:16:18

19      Tests, quote, Inconclusive, unquote in                      16:16:23

20      Jogger Rape.     It is not Bates stamped, and               16:16:27

21      it is dated as having been published                        16:16:33

22      October 10, 1989.                                           16:16:39

23           Q.     Did you read it at that time?                   16:16:45

24           A.     I don't remember that today.                    16:16:47

25           Q.     Did you learn that the                          16:16:50


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       Case 1:20-cv-08042-PKC Document 29-4 Filed 05/18/20 Page 31 of 31



                                     Linda Fairstein

                                                                 Page 549

 1      prosecution, I don't care who it was,                      16:16:55

 2      publicly gave out the information that the                 16:16:59

 3      DNA tests that were initially taken were                   16:17:02

 4      inconclusive as to whether or not there                    16:17:06

 5      was a match between the DNA that had been                  16:17:09

 6      recovered and any of the defendants?                       16:17:13

 7                   MS. DAITZ:      Objection to form.            16:17:15

 8            A.     I know that the prosecution used              16:17:16

 9      the term inconclusive which I believe was                  16:17:22

10      the term in the FBI report.              I know it,        16:17:26

11      whatever term Ms. Lederer used, I know                     16:17:29

12      that from Ms. Lederer, not from the                        16:17:32

13      newspaper, from Ms. Lederer in 1989, not                   16:17:35

14      from the newspaper.                                        16:17:39

15            Q.     I'm giving you two new exhibits.              16:17:40

16      Sorry for the seeming disjunction, but                     16:17:44

17      it's logical.                                              16:17:47

18                   MR. BELDOCK:       Ms. Reporter,              16:17:51

19      would you mark this one dated November 13,                 16:17:52

20      1989 as the next exhibit.                                  16:17:55

21                   (Document NYC013888-NYC013890                 16:17:55

22      was hereby marked as Fairstein Exhibit 37                  16:17:55

23      for identification, as of this date.)                      16:17:55

24                   MR. BELDOCK:       And the one dated          16:18:07

25      May 25, 1990 as the subsequent exhibit.                    16:18:09

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